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                           IN THE UNITED STATES BANKRUPTCY COURT
                             FOR THE SOUTHERN DISTRICT OF TEXAS
                                      HOUSTON DIVISION

                                                            )
     In re:                                                 )      Chapter 11
                                                            )
                                              GWG Holdings, Inc., et al.,1
     )                                                      Case No. 22-90032 (MI)
                                                            )
     Debtors.                                               )      (Joint Administration Requested)
                                                            )      (Emergency Hearing Requested)
                                                            )

           ORDER (I) WAIVING THE REQUIREMENT TO FILE A LIST OF EQUITY
            SECURITY HOLDERS, (II) AUTHORIZING THE DEBTORS TO REDACT
         CERTAIN PERSONAL IDENTIFICATION INFORMATION, AND (III) GRANTING
                                  RELATED RELIEF


              Upon the motion (the “Motion”)2 of the above-captioned debtors and debtors in possession

    (collectively, the “Debtors”) for entry of an order (this “Order”) (a) waiving the requirement to file

    a list of the Debtors’ equity security holders; (b) authorizing the Debtors to redact certain

    personal identification information; and (c) granting related relief, all as more fully set forth in

    the Motion; and this Court having jurisdiction over this matter pursuant to 28 U.S.C. § 1334; and

    this Court having found that this is a core proceeding pursuant to 28 U.S.C. § 157(b)(2), and that

    this Court may enter a final order consistent with Article III of the United States Constitution;

    and this Court having found that venue of this proceeding and the Motion in this district is proper

    pursuant to 28 U.S.C. §§ 1408 and 1409; and this Court having found that the Debtors’ notice of

    the Motion and opportunity for a hearing on the Motion were appropriate under the

    circumstances and no other notice need be provided as set forth herein; and this Court having

    reviewed the Motion and having


1
     The Debtors in these chapter 11 cases, along with the last four digits of each Debtor’s federal tax identification
         number, are: GWG Holdings, Inc. (2607); GWG Life, LLC (6955); and GWG Life USA, LLC (5538). The
         location of Debtor GWG Holdings, Inc.’s principal place of business and the Debtors’ service address is 325 N.
         St. Paul Street, Suite 2650 Dallas, TX 75201.
2
    Capitalized terms used but not otherwise defined herein have the meanings ascribed to them in the Motion.
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heard the statements in support of the relief requested therein at a hearing before this Court (the

“Hearing”); and this Court having determined that the legal and factual bases set forth in the

Motion and at the Hearing establish just cause for the relief granted herein; and upon all of the

proceedings had before this Court; and after due deliberation and sufficient cause appearing

therefor, it is HEREBY ORDERED THAT:

       1.      The requirement that Debtor entity GWG Holdings, Inc. files a list of its equity

security holders pursuant to Bankruptcy Rule 1007(a)(3) is waived.

       2.      The Debtors are authorized to file the unredacted Creditor Matrix under seal.

       3.      The Debtors are authorized to redact (a) the home addresses of individuals listed

on the Creditor Matrix, Master Service List, Schedules and Statements, or other documents filed

with the Court and (b) the names and addresses of any natural person protected by the GDPR.

The Debtors shall provide an unredacted version of the Creditor Matrix, Master Service List,

Schedules and Statements, and any other filings redacted pursuant to this Order) to (w) the U.S.

Trustee, (x) counsel to the DIP Agent, (y) counsel to Bank of Utah, in its capacity as indenture

trustee for the Bonds, or (z) any party in interest, upon request to the Debtors (email is sufficient)

or to the Court that is reasonably related to the Chapter 11 Cases, subject to the restrictions of the

GDPR; provided

that any receiving party shall not transfer or otherwise provide such unredacted document to any

person or entity not party to the request. The Debtors shall inform the U.S. Trustee and the Court

promptly after denying any request for an unredacted document pursuant to the Order. Any party

in interest may request emergency relief from the provisions herein, including that the Debtors

have not satisfied their burden under section 107(c) of the Bankruptcy Code.

       4.      The form of the Notice of Commencement attached hereto as Exhibit 1 is

approved.



                                                  2
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       5.      4.The Debtors are authorized to serve the Notice of Commencement in the manner

set forth in the Notice Procedures Motion.

       6.      5.The contents of the Motion satisfy the requirements of Bankruptcy Rule 6003(b).

       7.      6.Notice of the Motion as provided therein shall be deemed good and sufficient

notice of such Motion and the requirements of the Bankruptcy Rules and the Bankruptcy Local

Rules are satisfied by such notice.

       8.      7.Notwithstanding any Bankruptcy Rule to the contrary, the terms and conditions

of this Order are immediately effective and enforceable upon its entry.

       9.      8.The Debtor are authorized to take all actions necessary to effectuate the

relief granted in this Order in accordance with the Motion.

       10.     9.This Court retains exclusive jurisdiction with respect to all matters arising from

or related to the implementation, interpretation, and enforcement of this Order.




 Dated:             , 2022
 Houston, Texas                                      UNITED STATES BANKRUPTCY JUDGE




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                             Exhibit 1

                      Notice of Commencement
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Information to Identify the case:

Debtor Name: GWG Holdings, Inc., et al.                                    EIN 26 – 2222607


United States Bankruptcy Court for the: Southern District of Texas
                                                                           Date case filed for chapter 11          4/20/2022

Case Number: 22-90032




Official Form 309F (For Corporations or Partnerships) Notice of Chapter 11
Bankruptcy Case 12/17 For the debtor listed above, a case has been filed under chapter 11 of the
Bankruptcy Code. An order for relief has been entered.
This notice has important information about the case for creditors, debtors, and trustees, including
information about the meeting of creditors and deadlines. Read both pages carefully.
The filing of the case imposed an automatic stay against most collection activities. This means that creditors generally may not
take action to collect debts from the debtor or the debtor’s property. For example, while the stay is in effect, creditors cannot sue,
assert a deficiency, repossess property, or otherwise try to collect from the debtor. Creditors cannot demand repayment from the
debtor by mail, phone, or otherwise. Creditors who violate the stay can be required to pay actual and punitive damages and
attorney’s fees.
Confirmation of a chapter 11 plan may result in a discharge of debt. A creditor who wants to have a particular debt excepted
from discharge may be required to file a complaint in the bankruptcy clerk’s office within the deadline specified in this notice.
(See line 11 below for more information.)
To protect your rights, consult an attorney. All documents filed in the case may be inspected at the bankruptcy clerk’s office at
the address listed below or through PACER (Public Access to Court Electronic Records at www.pacer.gov).

 The staff of the bankruptcy clerk’s office cannot give legal advice.


Do not file this notice with any proof of claim or other filing in the case.
1.     Debtor’s full name                  GWG Holdings, Inc.                          EIN: XX-XXXXXXX
                                           GWG Life, LLC                               EIN: XX-XXXXXXX
                                           GWG Life USA, LLC                           EIN: XX-XXXXXXX
  2. All other names used in               Debtor                                      Other Names
     the last 8 years
                                           GWG Life, LLC                               Great West Growth, LLC
                                                                                       GWG Life Settlements, LLC

                                           GWG Life USA, LLC                           GWG Life of Indiana, LLC
  3.       Address                         325 N. St. Paul
                                           Street, Suite 2650
                                           Dallas, TX 75201
  4.      Debtor’s attorney                Charles S. Kelley                           Phone (713) 238-3000
       Name and address                    Mayer Brown
                                           LLP 700                                     Email ckelley@mayerbrown.com
                                           Louisiana St., Ste
                                           3400 Houston,
                                           TX 77002
  5.                                                                                   Hours 8:00 am – 5:00 pm Monday –
                                                                                       open Friday
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      Bankruptcy clerk’s office               United States Bankruptcy Court PO Box         Contact phone (713) 250-5500
      Documents in this case may be           61010
      filed at this address.                  Houston, TX 77208
                                                                                            Date:    4/20/2022
      You may inspect all records filed
      in this case at this office or online
      at www.pacer.gov.
6. Meeting of creditors
   The debtor’s representative                    TBD        at       TBD           Date Location:                                 Time The meeting may be con
   must attend the meeting to
   be questioned under oath.
   Creditors may attend, but are not
   required to do so.
                                                                                               For more information, see page 2 ►


7.                                    Proof of claim deadlineDeadline for filing proof of claim: 7/29/2022
                                     A proof of claim is a signed statement describing a creditor’s claim. A proof of claim form may
                                     be obtained at www.uscourts.gov or any bankruptcy clerk’s office.
                                     Your claim will be allowed in the amount scheduled unless:
                                           your claim is designated as disputed, contingent, or unliquidated;
                                           you file a proof of claim in a different amount; or
                                           you receive another notice.
                                     If your claim is not scheduled or if your claim is designated as disputed, contingent, or unliquidated,
                                     you must file a proof of claim or you might not be paid on your claim and you might be unable to
                                     vote on a plan. You may file a proof of claim even if your claim is scheduled.
                                     You may review the schedules at the bankruptcy clerk’s office or online at www.pacer.gov.
                                     Secured creditors retain rights in their collateral regardless of whether they file a proof of claim.
                                     Filing a proof of claim submits a creditor to the jurisdiction of the bankruptcy court, with
                                     consequences a lawyer can explain. For example, a secured creditor who files a proof of claim
                                     may surrender important nonmonetary rights, including the right to a jury trial.

8.                                    Exception to discharge If § 523(c) applies to your claim and you seek to have it excepted from
discharge, you must start a
      deadline                       judicial proceeding by filing a complaint by the deadline stated below.
      The bankruptcy clerk’s    Deadline for filing the complaint:                                                      office must receive a
      complaint and any required filing fee by the following deadline.



 9.                                 Creditors with a foreign              If you are a creditor receiving notice mailed to a foreign
 address, you may file a motion asking the
    address                        court to extend the deadlines in this notice. Consult an attorney familiar with United
                                   States bankruptcy law if you have any questions about your rights in this case.
10.                                 Filing a Chapter 11       Chapter 11 allows debtors to reorganize or liquidate according to a plan.
A plan is not effective
    bankruptcy case                unless the court confirms it. You may receive a copy of the plan and a disclosure statement telling
                                   you about the plan, and you may have the opportunity to vote on the plan. You will receive notice of
                                   the date of the confirmation hearing, and you may object to confirmation of the plan and attend the
                                   confirmation hearing. Unless a trustee is serving, the debtor will remain in possession of the
                                   property and may continue to operate its business.
11.                                   Discharge of debts        Confirmation of a chapter 11 plan may result in a discharge of debts,
                                     which may include all or part of your debt. See 11 U.S.C. § 1141(d). A discharge means that
                                     creditors may never try to collect the debt from the debtor except as provided in the plan. If you
                                     want to have a particular debt owed to you excepted from the discharge and § 523(c) applies to
                                     your claim, you must start a judicial proceeding by filing a complaint and paying the filing fee in
                                     the bankruptcy clerk’s office by the deadline.
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                  If you have any questions related to this
                notice, please call 1 (888) 508-2507 or submit
                           an inquiry via e-mail to
                         gwginfo@donlinrecano.com.

                     You may access documents and case
                              information at
